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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                  :
    In re:                                        :    Chapter 11
                                                  :
    JPA NO. 111 CO., LTD., and                    :    Case No. 21–12075 (DSJ)
    JPA NO. 49 CO., LTD.,                         :
                                                  :    (Jointly Administered)
                                 Debtors1.        :
                                                  :

        APPELLANT FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING)
             LIMITED’S STATEMENT OF ISSUES TO BE PRESENTED AND
                     DESIGNATION OF RECORD ON APPEAL




1 The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd.
The Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3 –2–1
Kasumigaseki, Chiyoda–Ku, Tokyo 100–0013.
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       Appellant, FitzWalter Capital Partners (Financial Trading) Limited (“FWCP”), pursuant

to Rule 8009(a) of the Federal Rules of Bankruptcy Procedure, hereby submits (i) its statement of

the issues to be presented on appeal from the Order, dated February 1, 2022 (Dkt. No. 97); and

(ii) designation of items to be included in the record on appeal.

I.     STATEMENT OF ISSUES ON APPEAL

       FWCP submits the following issues on appeal:

       1.      Whether the Bankruptcy Court erred in holding that JPA No. 111 Co., Ltd. and JPA

No. 49 Co., Ltd. (“the Debtors”) satisfy the requirements of section 109 of the Bankruptcy Code

based on the transfer of retainer amounts from the Debtors’ parent company, JP Lease Products &

Services Co. Ltd. (“JPL”), directly into accounts established by the Debtors’ then–proposed

bankruptcy counsel.

       2.      Whether the Bankruptcy Court erred by holding that the Debtors’ as–filed

schedules of assets and liabilities (the “Schedules”) did not constitute a judicial or evidentiary

admission that the Debtors did not have property located in the United States as required by section

109 of the Bankruptcy Code.

       3.      Whether the Bankruptcy Court erred in holding that the Debtors filed their

bankruptcy petitions in good faith because they are pursuing a sale under 11 U.S.C. § 363 that

Debtors claim will maximize recoveries, where that sale is predicated on the improper sale of

property that is not property of the Debtors’ estates.

       4.      Whether the Bankruptcy Court erred in holding that the Debtors filed their

bankruptcy petitions in good faith without considering that JPL likely had breached contractual

obligations and thus would improperly benefit from the Debtors filing bankruptcy petitions.

       5.      Whether the Bankruptcy Court erred in holding that the Debtors filed their

bankruptcy petitions in good faith when every secured creditor and JPL were parties to an


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intercreditor and subordination agreement (the “Proceeds Agreement”) that already provided a

comprehensive mechanism to dispose of and allocate all assets of the Debtors and other c ollateral

securing obligations owed by the Debtors.

         6.      Whether the Bankruptcy Court erred in holding that abstention under 11 U.S.C.

§ 305 was not warranted even though the Proceeds Agreement expressly provided a

comprehensive mechanism to dispose of and allocate all assets of the Debtors and other collateral

securing obligations owed by the Debtors, and required all matters relating to disposition and

allocation of the Debtors’ assets and other collateral securing Debtors’ allegations be resolved in

the courts of England and Wales.

         FWCP reserves its rights to supplement or amend this Statement of Issues.

II.      DESIGNATION OF RECORD ON APPEAL

         FWCP designates the following documents to be included in the Record on Appeal

(including any exhibit, annex, or addendum thereto).

      Item No.      Filing Date     Docket No.                Pleading/Document/Exhibit
          1         12/17/2021     Case No. 21–       Chapter 11 Voluntary Petition for Debtor JPA
                                   12075 (DSJ)        No. 111 Co., Ltd.
                                   [Dkt. No. 1]
         2          12/17/2021     Case No. 21–       Chapter 11 Voluntary Petition for Debtor JPA
                                   12076 (DSJ)        No. 49 Co., Ltd.
                                   [Dkt. No. 1]
         3          12/17/2021     Case No. 21–  Declaration of Teiji Ishikawa Pursuant to Local
                                   12075 (DSJ)   Bankruptcy Rule 1007–2 and In Support of the
                                   [Dkt. No. 3]  Debtors’’ Chapter 11 Petitions and First Day
                                                 Pleadings
         4          12/17/2021     Case No. 21– Debtors’ Motion for Entry of an Order
                                   12075 (DSJ) (I) Enforcing the Protections of Sections 105(a),
                                    [Dkt. No. 5] 362, 365, 525, and 541 of the Bankruptcy Code,
                                                 Restating Automatic Stay and Ipso Facto
                                                 Provisions; and (II) Granting Related Relief
         5          12/20/2021     Case No. 21– Objection to Debtors’ Motion for Entry of an
                                   12075 (DSJ) Order (I) Enforcing the Protections of Sections
                                   [Dkt. No. 12] 105(a), 362, 365, 525, and 541 of the Bankruptcy
                                                 Code, Restating Automatic Stay and Ipso Facto


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                                          Provisions; and (II) Granting Related Relief
      6        12/20/2021   Case No. 21– Order Signed on 12/20/2021 (I) Enforcing the
                            12075 (DSJ) Protections of Sections 105(a), 362, 365, 525,
                            [Dkt. No. 15] and 541 of the Bankruptcy Code, Restating
                                          Automatic Stay and Ipso Facto Provisions; and
                                          (II) Granting Related Relief
      7        12/22/2021   Case No. 21– Transcript regarding Hearing Held on
                            12075 (DSJ) 12/20/2021 At 10:30 AM RE: First Day
                            [Dkt. No. 18] Motions.
      8        12/31/2021   Case No. 21– Schedules of Assets and Liabilities for Debtor
                            12075 (DSJ) JPA No. 111 Co., Ltd.
                            [Dkt. No. 18]
      9        12/31/2021   Case No. 21– Statement of Financial Affairs for Debtor JPA
                            12075 (DSJ) No. 111 Co., Ltd.
                            [Dkt. No. 18]
     10        12/31/2021   Case No. 21– Schedules of Assets and Liabilities for Debtor
                            12076 (DSJ) JPA No. 49 Co., Ltd.
                             [Dkt. No. 6]
     11        12/31/2021   Case No. 21– Statement of Financial Affairs for Debtor JPA
                            12076 (DSJ) No. 49 Co., Ltd.
                             [Dkt. No. 7]
     12        12/31/2021   Case No. 21– Debtors’ Application for Entry of Orders:
                            12075 (DSJ) (I)(A) Approving Bidding Procedures Relating
                            [Dkt. No. 21] to the Sale of Substantially All of the Debtors’
                                          Assets; (B) Establishing Stalking Horse Bidders
                                          and Bid Protections; (C) Approving Procedures
                                          of the Assumption and Assignment of Certain
                                          Executory Contracts and Unexpired Leases;
                                          (D) Authorizing       Enforcement       Actions;
                                          (E) Scheduling an Auction and a Sale Hearing;
                                          and (F) Approving the Form and Manner of
                                          Notice Thereof; and (II)(A) Approving the Sale
                                          of the Purchased Assets Free and Clear of All
                                          Liens, Claims, Interests, and Encumbrances; and
                                          (B) Granting Related Relief
     13         1/02/2022   Case No. 21– FWCP’s Motion to Dismiss or Abstain From
                            12075 (DSJ) Hearing These Chapter 11 Cases
                            [Dkt. No. 22]
     14         1/02/2022   Case No. 21– Declaration of Andrew Gray In Support of
                            12075 (DSJ) FWCP’s Motion to Dismiss or Abstain From
                            [Dkt. No. 23] Hearing These Chapter 11 Cases, and All
                                          Exhibits Attached Thereto
     15         1/10/2022   Case No. 21– Declaration of Heinrich Loechteken In Support
                            12075 (DSJ) of Debtors’ Application for Entry of Orders:
                            [Dkt. No. 44] (I)(A) Approving Bidding Procedures Relating
                                          to the Sale of Substantially All of the Debtors’


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                                          Assets; (B) Establishing Stalking Horse Bidders
                                          and Bid Protections; (C) Approving Procedures
                                          of the Assumption and Assignment of Certain
                                          Executory Contracts and Unexpired Leases;
                                          (D) Authorizing       Enforcement       Actions;
                                          (E) Scheduling An Auction and A Sale Hearing;
                                          and (F) Approving the Form and Manner of
                                          Notice thereof; and (II)(A) Approving the Sale
                                          of the Purchased Assets Free and Clear of All
                                          Liens, Claims, Interests, and Encumbrances; and
                                          (B) Granting Related Relief
     16         1/13/2022   Case No. 21– FWCP’s        Letter     Regarding      Discovery
                            12075 (DSJ) Conference
                            [Dkt. No. 49]
     17         1/13/2022   Case No. 21– Debtors’      Letter     Regarding      Discovery
                            12075 (DSJ) Conference
                            [Dkt. No. 50]
     18         1/13/2022   Case No. 21– Statement of Sumitomo Mitsui Trust Bank,
                            12075 (DSJ) Limited, Regarding the Bidding Procedures
                            [Dkt. No. 51] Motion and the Dismissal Motion
     19         1/13/2022   Case No. 21– Debtors’ Objection to the Motion of FitzWalter
                            12075 (DSJ) Capital Partners (Financial Trading) Limited to
                            [Dkt. No. 53] Dismiss or Abstain from Hearing these Chapter
                                          11 Cases, and All Exhibits Attached Thereto
     20         1/13/2022   Case No. 21– Joinder of Mizuho Leasing Co., Ltd. to Debtors’’
                            12075 (DSJ) Objection to the Motion of FitzWalter Capital
                            [Dkt. No. 54] Partners (Financial Trading) Limited to Dismiss
                                          or Abstain from Hearing these Chapter 11 Cases
     21         1/13/2022   Case No. 21– Response of JP Lease Product & Services Co.
                            12075 (DSJ) (A) Objecting to Motion of FitzWalter Capital
                            [Dkt. No. 55] Partners (Financial Trading) Limited to Dismiss
                                          or Abstain from Hearing these Chapter 11 Cases
     22         1/13/2022   Case No. 21– FWCP’s Preliminary Objection to Debtors’’
                            12075 (DSJ) Application       for     Entry     of     Orders:
                            [Dkt. No. 56] (I)(A) Approving Bidding Procedures Relating
                                          to the Sale of Substantially All of the Debtors’
                                          Assets; (B) Establishing Stalking Horse Bidders
                                          and Bid Protections; (C) Approving Procedures
                                          of the Assumption and Assignment of Certain
                                          Executory Contracts and Unexpired Leases;
                                          (D) Authorizing       Enforcement       Actions;
                                          (E) Scheduling An Auction and A Sale Hearing;
                                          and (F) Approving the Form and Manner of
                                          Notice Thereof; and (II)(A) Approving the Sale
                                          of the Purchased Assets Free and Clear of All
                                          Liens, Claims, Interests, and Encumbrances; and


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                                          (B) Granting Related Relief
     23         1/13/2022   Case No. 21– Declaration of Benjamin Finestone in Support of
                            12075 (DSJ) FWCP’s Preliminary Objection to Debtors’’
                            [Dkt. No. 57] Application     for     Entry     of     Orders:
                                          (I)(A) Approving Bidding Procedures Relating
                                          to the Sale of Substantially All of the Debtors’
                                          Assets; (B) Establishing Stalking Horse Bidders
                                          and Bid Protections; (C) Approving Procedures
                                          of the Assumption and Assignment of Certain
                                          Executory Contracts and Unexpired Leases;
                                          (D) Authorizing       Enforcement       Actions;
                                          (E) Scheduling An Auction and A Sale Hearing;
                                          and (F) Approving the Form and Manner of
                                          Notice Thereof; and (II)(A) Approving the Sale
                                          of the Purchased Assets Free and Clear of All
                                          Liens, Claims, Interests, and Encumbrances; and
                                          (B) Granting Related Relief, and All Exhibits
                                          Attached Thereto
     24         1/13/2022   Case No. 21– Notice of Filing of Exhibits to the Debtors’’
                            12075 (DSJ) Application       for     Entry     of     Orders:
                            [Dkt. No. 58] (I)(A) Approving Bidding Procedures Relating
                                          to the Sale of Substantially all of the Debtors
                                          Assets; (B) Establishing Stalking Horse Bidders
                                          and Bid Protections; (C) Approving Procedures
                                          of the Assumption and Assignment of Certain
                                          Executory Contracts and Unexpired Leases;
                                          (D) Authorizing       Enforcement       Actions;
                                          (E) Scheduling an Auction and a Sale Hearing;
                                          and (F) Approving the Form and Manner of
                                          Notice Thereof; and (II)(A) Approving the Sale
                                          of the Purchased Assets Free and Clear of all
                                          Liens, Claims, Interests and Encumbrances; and
                                          (B) Granting Related Relief, and All Exhibits
                                          Attached Thereto
     25         1/17/2022   Case No. 21– FWCP’s Letter Regarding January 14, 2022
                            12075 (DSJ) Discovery Conference
                            [Dkt. No. 61]
     26         1/17/2022   Case No. 21– Debtors’ Letter Regarding January 14, 2022
                            12075 (DSJ) Discovery Conference
                            [Dkt. No. 62]
     27         1/18/2022   Case No. 21– FWCP’s Reply in Support of Motion to Dismiss
                            12075 (DSJ) or Abstain From Hearing These Chapter 11
                            [Dkt. No. 67] Cases
     28         1/18/2022   Case No. 21– Debtors’ Reply in Support of Application for
                            12075 (DSJ) Entry of Orders: (I)(A) Approving Bidding
                            [Dkt. No. 68] Procedures Relating to the Sale of Substantially


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                                          All of the Debtors’ Assets; (B) Establishing
                                          Stalking Horse Bidders and Bid Protections;
                                          (C) Approving Procedures of the Assumption
                                          and Assignment of Certain Executory Contracts
                                          and Unexpired Leases; (D) Authorizing
                                          Enforcement Actions; (E) Scheduling An
                                          Auction and A Sale Hearing; and (F) Approving
                                          the Form and Manner of Notice thereof; and
                                          (II)(A) Approving the Sale of the Purchased
                                          Assets Free and Clear of All Liens, Claims,
                                          Interests, and Encumbrances; and (B) Granting
                                          Related Relief
     29         1/20/2022   Case No. 21– Transcript of Discovery Conference Held on
                            12075 (DSJ) January 14, 2022
                            [Dkt. No. 73]
     30         1/20/2022   Case No. 21– Transcript of Discovery Conference Held on
                            12075 (DSJ) January 18, 2022
                            [Dkt. No. 74]
     31         1/21/2022   Case No. 21– Supplemental Declaration of              Heinrich
                            12075 (DSJ) Loechteken In Support of                 Debtors’;
                            [Dkt. No. 78] (I) Objection to the Motion of FitzWalter Capital
                                          Partners (Financial Trading) Limited to Dismiss
                                          or Abstain from Hearing these Chapter 11 Cases
                                          and (II) Application for Entry of Orders, Inter
                                          Alia, Approving Bidding Procedures Relating to
                                          the Sale of Substantially All of the Debtors’
                                          Assets, and All Exhibits Attached Thereto
     32         1/22/2022   Case No. 21– Declaration of Akhil Shah In Support of
                            12075 (DSJ) FWCP’s Motion to Dismiss and Preliminary
                            [Dkt. No. 79] Objection to Debtors Application for Entry of
                                          Orders, and All Exhibits Attached Thereto
     33         1/23/2022   Case No. 21– Supplemental Declaration of Andrew Gray in
                            12075 (DSJ) Support of Creditor FitzWalter Capital Partners
                            [Dkt. No. 80] Motion To Dismiss or Abstain From Hearing
                                          These Chapter 11 Cases; And Objection To
                                          Debtors Application for Entry of Orders, Inter
                                          Alia, Approving Bidding Procedures, and All
                                          Exhibits Attached Thereto
     34         1/26/2022   Case No. 21– January 26, 2022 Exhibit List, and All Exhibits
                            12075 (DSJ) Listed Thereon, Each as Admitted on the Record
                            [Dkt. No. 88] at the January 26, 2022 Hearing
     35         1/28/2022   Case No. 21– Debtors’ Statement Responding to this Court’s
                            12075 (DSJ) Inquiries Regarding Debtors’ Motion to
                            [Dkt. No. 90] Approve Bidding Procedures
     36         1/31/2022   Case No. 21– FWCP’s Response to Debtors’ Statement
                            12075 (DSJ) Responding to this Court’s Inquiries Regarding


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                            [Dkt. No. 91] Debtors’ Motion to Approve Bidding Procedures
     37         1/31/2022   Case No. 21–  Transcript of Hearing Held on January 26, 2022
                            12075 (DSJ)   Regarding Motion Filed By FitzWalter Capital
                            [Dkt. No. 94] Partners (Financial Trading) To Dismiss Or
                                          Abstain From Hearing These Chapter 11 Cases.;
                                          Application Filed By The Debtor For Entry Of
                                          Orders: (I)(A) Approving Bidding Procedures
                                          Relating To The Sale Of Substantially All Of
                                          The Debtors Assets; (B) Establishing Stalking
                                          Horse Bidders And Bid Protections;
                                          (C) Approving Procedures Of The Assumption
                                          And Assignment Of Certain Executory
                                          Contracts      And       Unexpired      Leases;
                                          (D) Authorizing       Enforcement      Actions;
                                          (E) Scheduling An Auction And A Sale Hearing;
                                          And (F) Approving The Form And Manner Of
                                          Notice Thereof; And (II)(A) Approving The Sale
                                          Of The Purchased Assets Free And Clear Of All
                                          Liens, Claims, Interests, And Encumbrances;
                                          And (B) Granting Related Relief
     38         2/01/2022   Case No. 21– Memorandum of Decision and Order Signed on
                            12075 (DSJ) 2/1/2022 Resolving Motion to Dismiss
                            [Dkt. No. 97]
     39                         N/A       Cover Email and Designations of Deposition
                                          Testimony of Heinrich Loechteken Admitted
                                          into Evidence at the January 26, 2022 Hearing in
                                          Lieu of Cross Examination.
     40         2/15/2022   Case No. 21– FitzWalter Capital Partners (Financial Trading)
                            12075 (DSJ) Limited’s Notice of Appeal
                               [Dkt.
                              No. 115]




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Dated: February 28, 2022


                                        Respectfully submitted,

                                        /s/ Benjamin I. Finestone

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